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                                         UNITED STATES BANKRUPTCY COURT
                                               Eastern District of Missouri
                                            Thomas F. Eagleton U.S. Courthouse
                                           111 South Tenth Street, Fourth Floor
                                                   St. Louis, MO 63102



In re: Stephanie D Williams
       Debtor(s):                                                       Case No.: 20−40205
       Stephanie D Williams − See below for reported
       alias information xxx−xx−8027
       − See below for reported alias information
                                                                        CHAPTER 13




                           PRE−CONFIRMATION ORDER AND NOTICE OF DISMISSAL


                                  TO: ALL CREDITORS AND PARTIES IN INTEREST
PLEASE TAKE NOTE: THIS CASE IS BEFORE THE COURT FOR DISMISSAL FOR THE REASON(S) IDENTIFIED BY
BELOW.
The Debtor(s):
     moved to dismiss this case in accordance with 11 U.S.C. § 1307(b).

     failed to file      a Chapter 13 Plan;       one or more Schedules and/or Statement of Affairs;        a Matrix and/or Verification of
     Matrix in the proper form and within the time permitted;         a Statement of Current Monthly Income and Calculation of
     Commitment Period (B122 C−1) and if necessary, Calculation of Disposable Income (B122 C−2);            a Credit Counseling
     Certificate indicating compliance with 11 U.S.C. § 109(h)(1), a Certification of Exigent Circumstances, or a Motion for
     Exemption from Credit Counseling under § 109(h)(4); or            Debtor(s) failed to provide Social Security Number or B121
     Form(s) within the time permitted;     Debtor's attorney failed to file a Rule 2016(b) Disclosure of Compensation; and/or            .
     The Court advised the Debtor(s) and Debtor's attorney that failure to file these documents properly within the time specified
     would result in dismissal of the case.
     failed to appear at the meeting of creditors and failed to obtain the Chapter 13 Trustee's consent to a further continued date. The
     Chapter 13 Trustee has certified that he notified the Debtor(s) that failure to appear at the continued hearing would result in
     dismissal of the case.

     failed to provide    tax documents to the Trustee in accordance with §521(e)(2)(B) and orders of this Court; and/or            payment
     advices to the Trustee in accordance with the § 521(a)(1)(B)(iv) and orders of this Court.
     failed to pay the appropriate filing fee; failed to file a proper Application to Pay Filing Fees in Installments at the time the petition
     was filed or within such additional time allowed, LR 1002 A.; or failed to pay the filing fee on the terms set forth in the Order
     Approving Installment Fee Application previously entered in this case.

The Chapter 13 Trustee:

     moved in writing or at a hearing, orally requested dismissal of this case in accordance with         11 U.S.C. § 1307(c)(1) for
     unreasonable delay;        § 1307(c)(2) for nonpayment of fees under chapter 123 of title 28;        § 1307(c)(4) for failure to
     commence making plan payments;             § 1307(c)(5) for denial of confirmation of a plan and denial of request for additional time
     for filing another plan or modification;       § 1307(c)(11) for failure to pay domestic support obligations;       § 1307(e) for
     failure to file taxes required under § 1308;       for abuse of the bankruptcy process;      for Debtor(s)' failure to turn over the tax
     return(s); and/or      for Debtor(s)' failure to comply with a Court order, and after notice and hearing;
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A Party in Interest

      other than the Chapter 13 Trustee, moved to dismiss this case       for cause in accordance with 11 U.S.C. § 1307(c);         for
      failure to comply with a Court order;      for failure to provide tax documents in accordance with § 521(e)(2)(C) and orders of
      this Court,     for failure to pay any domestic support obligations that first became payable after the date of the filing of the
      petition in accordance with § 1307(c)(11); and/or       for other abuse of the bankruptcy process, as more fully stated in the
      written motion, and after notice and hearing;

The Missouri Department of Revenue
      moved to dismiss this case in accordance with 11 U.S.C. § 1307(c)(1) for unreasonable delay in filing tax return(s), and the
      Debtor(s) have failed to respond to the motion, or after notice and hearing;

The Court
      on its own motion or show cause, moved to dismiss this case under 11 U.S.C. § 105(a) for failure to comply with a Court order
      and/or for abuse of the bankruptcy process.

Other Reason(s) for Dismissal:


ACCORDINGLY,
   IT IS ORDERED for the reasons set forth in the motion or on the record at hearing, if any, the Motion to Dismiss identified in this
Order and Notice is GRANTED, and this Chapter 13 case is DISMISSED prior to entry of an order of discharge.

   IT IS FURTHER ORDERED Debtor(s)' employer(s) is/are directed to cease withholding from Debtor(s)' wages in respect to this
Chapter 13 case, and this Court's Order to Deduct from Wages or Other Income is hereby terminated.

    IT IS FURTHER ORDERED ANY PARTY OTHER THAN THE CHAPTER 13 TRUSTEE, WHO SEEKS PAYMENT FOR
ANY CLAIM UNDER 11 U.S.C. § 503(b), SHALL HAVE 14 DAYS FROM THE DATE OF THIS ORDER WITHIN WHICH TO
FILE AN APPLICATION FOR ALLOWANCE OF AN ADMINISTRATIVE EXPENSE CLAIM. Any party seeking payment shall
serve such application on the Debtor(s) and Chapter 13 Trustee. Compensation to the Chapter 13 Trustee and payment of fees due this
Court shall be awarded as specified herein without application.

     IT IS FURTHER ORDERED Any application for payment of attorneys' fees by counsel who have elected the flat fee option must
include: (1) a general description of the services performed and the amount of fees and costs requested (detailed time entries are not
required); (2) the case number, chapter, and date of filing for all prior cases filed by the Debtor(s); and (3) a statement explaining the
reason for dismissal of any case filed within three years of the date of this case.

     IT IS FURTHER ORDERED that Diana S. Daugherty, the Chapter 13 Trustee, shall pay the unpaid portion, if any, of the filing
fee due the Court for this case, and then shall pay, pro rata, other claims allowed under 11 U.S.C. § 503(b). After paying such claims, the
Trustee is directed to return any remaining funds to the Debtor(s) or as otherwise may be ordered. Any pre−confirmation disbursements
made by the Chapter 13 Trustee prior to the entry of this Order are allowed and approved by the Court.
      IT IS FURTHER ORDERED that this case is dismissed under U.S.C. § 109(g)(1) and the Debtor(s) is/are prohibited from filing a
      petition under Title 11 of the United States Bankruptcy Code for 180 days from the date of entry of this order pursuant to In re
      Montgomery, 37 F.3d 413 (8th Cir. 1994).
      IT IS FURTHER ORDERED that this case is dismissed under U.S.C. § 109(g)(2) and the Debtor(s) is/are prohibited from filing a
      petition under Title 11 of the United States Bankruptcy Code for 180 days from the date of entry of this order.
      IT IS FURTHER ORDERED that this case is dismissed with prejudice under 11 U.S.C. §105(a) and the Debtor(s) is/are
      prohibited from filing a petition under Title 11 of the United States Bankruptcy Code for 180 days from the date of entry of this
      order.
      IT IS FURTHER ORDERED that since the Debtor(s) owe(s) $ for the filing fee in this case, the Debtor(s) MUST PAY THIS
      AMOUNT TO THE COURT WITHIN FIVE BUSINESS DAYS OF THIS ORDER. If the Debtor(s) fail(s) to pay the amount
      owed to the Court within five business days, the Debtor(s) is/are prohibited from filing a petition under Title 11 of the United States
      Bankruptcy Code for 180 days from the date of dismissal. If the Debtor(s) file(s) a subsequent bankruptcy case while prior filing
      fees remain outstanding, the Court will ordinarily deny any Application to Pay Filing Fees in Installments in the subsequent case.
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    IT IS FURTHER ORDERED that the automatic stays of 11 U.S.C. § 362 are hereby terminated, AND ANY MATTERS NOT
PREVIOUSLY DISPOSED OF ARE DENIED AS MOOT ON THE FILING OF THE CHAPTER 13 TRUSTEE'S FINAL REPORT.
The Chapter 13 Trustee is directed to promptly file his final report and upon so doing is discharged as Trustee and is relieved of and
discharged from his bond.



Dated: 3/4/20

Rev. 11/17 preconfo
                                                                                                                U.S.Bankruptcy Judge

Reported Alias Information:
Stephanie D Williams −
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